                                                                                Motion GRANTED.
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                                                       Civil Case No. 3:19-CV-00736
               Plaintiffs,
v.                                                     Hon. Aleta A. Trauger

SPOTIFY USA INC.; HARRY FOX                            JURY DEMAND
AGENCY, LLC,

               Defendants,



SPOTIFY USA INC.,

               Third-Party Plaintiff,
v.

KOBALT MUSIC PUBLISHING
AMERICA, INC.,

               Third-Party Defendant.


                  SPOTIFY USA INC.’S UNOPPOSED MOTION
          FOR AN EXTENSION OF TIME TO FILE ITS AMENDED ANSWER

        Pursuant to Local Rules 6.01(a) and 7.01(a)(1), Defendant Spotify USA Inc. (“Spotify”)

respectfully moves the Court to extend the deadline to file its Amended Answer (along with

affirmative defenses and counterclaims, if any) until such time that Defendant Harry Fox Agency,

LLC (“HFA”) is due to respond to Plaintiffs’ First Amended Complaint.

        Spotify’s Amended Answer is currently due July 15, 2020. In support of its motion,

Spotify submits that aligning the response dates for both of the Defendants named in Plaintiffs’

First Amended Complaint serves the interest of efficiency for both the parties and the Court. Nor




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